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  February 1, 2023

  The Honorable Pamela K. Chen
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York

          Re: SEC v. Xia, et al, United States District Court, EDNY 1:21-cv-05350 (the “SEC Action”)

  Dear Judge Chen,

  Pursuant to the Order of Judge Pamela K. Chen dated November 9, 2022 in the SEC Action (the “Order”),
  and the $15,000,000 loan from Emerald Creek Capital 3, LLC (“ECC”) to X&Y Development Group (the
  “Loan”), ECC has today made a book entry payment from the Interest Reserve for the above-mentioned
  loan in the amount of $128,779.17 to ECC. This payment represents nominal interest due from the
  borrower for the period January 1 – 31, 2023.

  The balance in the interest reserve account after this payment is $130,937.49. The payment of the
  $128,779.17 from the Interest Reserve to ECC was a book entry payment and thus there is no wire or bank
  entry proof.

  Emerald Creek Capital 3, LLC maintains that it is entitled to interest at the default rate and reserves its
  rights in this respect.



  EMERALD CREEK CAPITAL 3, LLC




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  By: Mark Bahiri, Managing Member
